
209 F.Supp.2d 1342 (2002)
Robert S. ROSENTHAL and Fran Rosenthal, Plaintiffs,
v.
UNITED VAN LINES, LLC, Unigroup, Inc., Adco Van &amp; Storage, Inc., Armstrong Relocation Co., and John Doe Corporation, Defendants.
No. CIV.A. 1:01-CV-165-CC.
United States District Court, N.D. Georgia, Atlanta Division.
June 13, 2002.
Frank Robert Seigel, Auden L. Grumet, Epstein, Becker &amp; Green, Atlanta, GA, for Plaintiffs.
William L. Bost, Jr., Greenfield, Bost &amp; Kliros, Atlanta, GA, Lawrence J. Roberts, phv, Roberts &amp; Associates, Miami, FL, for Defendants.

ORDER VACATING PRIOR PUBLISHED OPINION AND DISMISSING CASE WITH PREJUDICE
COOPER, District Judge.
THIS MATTER came before the Court upon the Joint Motion of the parties to vacate this Court's prior opinion and to dismiss this matter with prejudice based upon a settlement agreement. Upon consideration, it is
ORDERED AND ADJUDGED that
*1343 The parties' joint motion is GRANTED.
This Court's opinion, published at 174 F.Supp.2d 1331 (N.D.Ga.2001) is VACATED. See, H.K. Porter Company, Inc. v. Metropolitan Dade County, 998 F.2d 892 (11th Cir.1993). It is further
ORDERED AND ADJUDGED that
This matter is dismissed with prejudice and without costs to either party, with each party to bear their own attorneys' fees.
